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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


ANDREW WALLACE,                                  )
                                                 )
               Plaintiff,                        )
                                                 )
                       v.                        )    Civil Action No.:
                                                 )
BATH IRON WORKS CORPORATION,                     )
a SUBSIDIARY OF GENERAL                          )
DYNAMICS CORPORATION,                            )
                                                 )
               Defendant.                        )


                      COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Andrew Wallace, by and through the undersigned counsel, complains of

Defendant Bath Iron Works Corporation, a Subsidiary of General Dynamics Corporation

("BIW" or "the Employer”), as follows:

                                       INTRODUCTION

       1.      This action arises out of the unlawful employment actions taken by Defendant

BIW against Plaintiff Wallace in violation of the Family and Medical Leave Act, 29 U.S.C.

§2601 et seq. (“FMLA”) and the Maine Family Medical Leave Act, 26 M.R.S.A. §843 et seq.

(“MFMLA”). The illegal practices alleged below were committed within the state of Maine.

                                JURISDICTION AND VENUE

       2.      Jurisdiction properly lies in this Court pursuant to 28 U.S.C. §1331 and 29

U.S.C. §2617(a)(2) and pursuant to the doctrine of supplemental jurisdiction over the state-

based MFMLA claim.

       3.      Venue properly lies in this Court pursuant to 28 U.S.C. 1391.
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                                        JURY DEMAND

         4.    Plaintiff demands trial by jury of all claims, to the extent allowed by law.

                                            PARTIES

         5.    Plaintiff Andrew Wallace (“Plaintiff Wallace”) resides in Bowdoinham, Maine.

He was hired by Defendant BIW on May 12, 2014 to be a Preservation Technician. BIW

terminated Plaintiff Wallace from his position on October 11, 2017.

         6.    In the year preceding his termination, Plaintiff Wallace worked more than 1250

hours. At all times relevant to this complaint, Plaintiff Wallace performed his job in a

satisfactory fashion.

         7.    Defendant BIW is a wholly-owned subsidiary of General Dynamics

Corporation. It is primarily located in Bath, Maine. BIW employs more than 500 employees.

                                FACTUAL ALLEGATIONS

         A.    Plaintiff Wallace Has A Serious Medical Condition And BIW Certified
               His Intermittent FMLA Leave.

         8.    Plaintiff Wallace was hired by Defendant BIW in May of 2014.

         9.    For the next three years, his employment with Defendant BIW continued without

issue.

         10.   In June of 2017, however, Plaintiff Wallace began to suffer symptoms of what

would later be diagnosed as anxiety and related shortness of breath. Plaintiff Wallace would

suffer this anxiety intermittently during the months of July, August, and September of 2017.

         11.   When he suffered anxiety and related panic attacks, Plaintiff Wallace would

become very dizzy and lightheaded, and feel like he was sick. He would become short of breath

and his heart would race.




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       12.     Suffering these symptoms made Plaintiff Wallace unable to work. On the days he

suffered these symptoms he would call in sick or leave work early.

       13.     The symptoms of Plaintiff Wallace’s anxiety resulted in him missing a number of

days of work in June, July, August, and September of 2017.

       14.     At the time of the absences, Plaintiff Wallace had not been diagnosed with

anxiety. He had never dealt with anxiety before and did not understand what was happening.

       15.     On August 3, 2017, Defendant BIW placed Plaintiff Wallace on a written warning

for the absences in June and July of 2017 that resulted from his undiagnosed anxiety.

       16.     In early August Plaintiff Wallace’s anxiety caused him to miss four days of work

between August 8, 2017 and August 11, 2017.

       17.     On August 14, 2017, Defendant BIW issued Plaintiff Wallace a second written

warning for his anxiety-related absences between August 8 and August 11.

       18.     On or about August 29, 2017, Plaintiff Wallace started his shift for Defendant

BIW. Shortly after the shift started, he began to suffer serious chest pains. He was dizzy, his

heart was racing, and he thought he might pass out. Plaintiff Wallace was rushed from work to

the emergency room in an ambulance.

       19.     Plaintiff Wallace underwent a number of medical tests at the hospital. Upon

information and belief, one concern was that he was having a heart attack, which the tests ruled

out.

       20.     Plaintiff Wallace’s next shift working for Defendant BIW was scheduled for

August 31, 2017. When he arrived at work, he was directed to Defendant BIW’s medical

department. Defendant BIW’s medical department informed him that he could not work until he

had a note from his doctor clearing him to return.



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       21.     Plaintiff Wallace did not have a primary care physician at that time. He had not

received medical treatment for his undiagnosed anxiety disorder. As a result, finding a doctor

and scheduling an appointment to clear his return to work took approximately one week.

       22.     Because he had not been cleared to return to work, Plaintiff Wallace was absent

August 31, September 1, and September 5. These absences were initially deemed unexcused

absences by Defendant BIW.

       23.     On September 5, 2017, Plaintiff Wallace had his first appointment with his

medical provider, Andrew Susan, PA. Plaintiff Wallace’s medical provider diagnosed him with

an anxiety disorder and shortness of breath.

       24.     That same day, Plaintiff Wallace’s medical provider sent Defendant BIW a note

requesting that he be excused from work from August 29, 2017, until September 5, 2017, for

medical reasons.

       25.     In his letter to Defendant BIW, the medical provider also inquired about Plaintiff

Wallace securing FMLA leave for “missed and possible future missed work.” The medical

provider requested Defendant BIW to “fax any FMLA paperwork to our office for

consideration.”

       26.     On September 7, 2017, Plaintiff Wallace’s medical provider completed Defendant

BIW’s FMLA certification paperwork and faxed it to Defendant BIW.

       27.     On the FMLA certification paperwork, the medical provider identified Plaintiff

Wallace’s serious health condition of anxiety and shortness of breath. The medical provider also

noted that Plaintiff Wallace would experience intermittent periods of incapacity due to “episodic

flare-up’s” (sic) of his serious health condition.




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         28.   Defendant BIW’s paperwork requested Plaintiff Wallace’s medical provider to

estimate the amount of time that Plaintiff Wallace “will be incapacitated during the employee’s

regular work hours.” The medical provider estimated one day per week and three days per

month.

         29.   Defendant BIW approved Plaintiff Wallace’s FMLA certification request. As a

result, his unexcused absences on August 31, September 1, and September 5 were all were

deemed protected leave under the FMLA.

         B.    Plaintiff Wallace Uses FMLA On September 28 And 29, 2017.

         30.   On September 28, 2017, Plaintiff Wallace was suffering from anxiety that made

him unable to work. He contacted Defendant BIW in accordance with its policy for giving notice

of utilizing FMLA leave to notify it that he would not be working that day.

         31.   On September 29, 2017, Plaintiff Wallace was still suffering from anxiety that

made him unable to work. He contacted Defendant BIW in accordance with its policy for giving

notice of utilizing FMLA leave to notify it that he would not be working that day.

         32.   Defendant BIW approved Plaintiff Wallace’s use of FMLA leave for September

28, 2017, but it denied approval of FMLA leave for his absence on September 29, 2017.

         33.   Defendant BIW denied the approval of Plaintiff Wallace’s FMLA leave for his

absence on September 29, 2017, despite knowing that he was absent because of the serious

health condition for which it had approved his intermittent leave.

         34.   On September 29, 2017, Defendant BIW sent Plaintiff Winslow a letter

explaining that his request for leave was denied because he was only allowed to use FMLA leave

one time per month. Defendant BIW mailed this letter to an incorrect address for Plaintiff




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Wallace. Defendant BIW had failed to update its records when Plaintiff Wallace notified it that

he had moved.

        35.     The information in Defendant BIW’s September 29, 2017 letter to Plaintiff

Wallace regarding the amount of leave he was entitled was incorrect. Defendant BIW had not

approved Plaintiff Wallace for only one absence per month as the letter stated.

        36.     Plaintiff Wallace had been approved for intermittent FMLA. His medical provider

had estimated that his serious health condition would result in partial or full day incapacity

approximately 1 time per week and three times per month. This figure was an estimate.

        37.     In its letter, Defendant BIW also told Plaintiff Wallace that he had until October

15, 2017, to provide additional certification from his physician if he believed that his

certification needed to be updated.

        38.     Despite the fact that Defendant BIW had told Plaintiff Wallace that he had until

October 15, 2017, to provide updated certification for his leave, and despite the fact that

Defendant BIW had approved him for more FMLA leave than its September 29 letter stated, on

October 3, 2017, Defendant BIW began the process of terminating Plaintiff Wallace’s

employment for his absence on September 29, 2017.

        39.     On October 11, 2017, Defendant BIW terminated Plaintiff Wallace for being

absent on September 29, 2017. P

                                            COUNT I
                                FMLA (Interference and Retaliation)

        40.     Plaintiff Wallace re-alleges and herein incorporates by reference Paragraphs 1- 39

as if set forth in their entirety herein.




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       41.     The FMLA makes it unlawful for “any employer to interfere with, restrain, or

deny the exercise of or the attempted exercise, any right provided under this subchapter.” 29

U.S.C. § 2615(a)(1).

       42.     The FMLA also makes it unlawful for “any employer to discharge or in any other

manner discriminate against any individual for opposing any practice made unlawful by this

subchapter.” 29 U.S.C. § 2615(a)(2).

       43.     In September of 2017 Defendant BIW had certified Plaintiff Wallace for

intermittent FMLA for his serious health condition of anxiety and shortness of breath.

       44.     Plaintiff Wallace’s FMLA certification paperwork requested his medical provider

to estimate the frequency with which Plaintiff Wallace’s serious medical condition would result

in the incapacity to work.

       45.     On September 29, 2017, Plaintiff Wallace suffered symptoms of his serious

medical condition that made him unable to work that day.

       46.     Plaintiff Wallace followed Defendant BIW’s procedures and notified Defendant

BIW he would be using federally protected leave that day because of his serious medical

condition.

       47.     Defendant BIW denied Plaintiff Wallace’s request for leave under the FMLA and

incorrectly stated that he only was entitled to FMLA leave one day per month.

       48.     Because Defendant BIW denied Plaintiff Wallace’s request for FMLA leave on

September 29, 2017, his absence was entered as “Personal Business” (Code 06).

       49.     Because Plaintiff Wallace was not entitled to any Personal Business days on

September 29, 2017, Defendant BIW terminated his employment on October 11, 2017.




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       50.     Defendant BIW interfered with Plaintiff Wallace’s right to FMLA by denying his

use of federally protected FMLA leave for his serious health condition on September 29, 2017.

       51.     Defendant BIW also interfered with Plaintiff Wallace’s right to FMLA by

denying him the opportunity to have his medical provider recertify FMLA any paperwork to

explain why his inability to attend work on September 29, 2017 was related to his serious

medical condition, and to update the certification to provide for necessary additional intermittent

absences.

       52.     Defendant further interfered with Plaintiff Wallace’s federal rights by denying

him the ability to obtain a recertification and terminating him on October 11, 2017, for being

absent on personal business on September 29, 2017 when the reason for the absence was a

serious medical need.

       53.     Defendant BIW’s conduct in interfering was willful and done in bad faith because

it knew Plaintiff Wallace had a serious medical condition that resulted in incapacity from work,

it had approved his application for FMLA leave, it initially communicated to Plaintiff Wallace

that he had until October 15, 2017, to provide recertification, but records reflect that it had

internally decided to terminate him on October 3, 2017, and actually terminated him on October

11, 2017.

       54.     By preventing Plaintiff Wallace from utilizing protected leave that was due to

incapacity from a serious medical condition, Defendant BIW’s conduct denied or otherwise

interfered with his substantive rights under the FMLA, in violation of 29 U.S.C. § 2615(a)(1).

       55.     Defendant BIW terminated Plaintiff Wallace’s employment in order to interfere

with, restrain or deny him the exercise of, or attempted exercise of, his rights under the FMLA,

in violation of 29 U.S.C. § 2615(a)(1) and (2).



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        56.     Alternatively, Defendant BIW’s termination of Plaintiff Wallace was done to

discriminate and/or retaliate against him because of his protected use of FMLA leave in violation

of 29 U.S.C. § 2615(a)(1) and (2). For the foregoing reasons, this retaliatory conduct was willful

and done in bad faith.

        57.     There are no legitimate reasons for Plaintiff Wallace’s termination by Defendant

BIW.

                                          COUNT II
                    (For Violation of the Maine Family Medical Leave Act)

        58.     Plaintiff Wallace re-alleges and hereby incorporates by reference Paragraphs

1- 57 as if set forth in their entirety herein.

        59.     Plaintiff Wallace suffers from a serious health condition as defined by 26

M.R.S.A. §843(6).

        60.     Plaintiff Wallace was entitled to take intermittent leave under the

MFMLA, 26 M.R.S.A. §844 for his serious health condition.

        61.     Defendant BIW interfered with Plaintiff Wallace’s attempt to exercise his

right to medical leave in violation of 26 M.R.S.A. § 847(1). For the previously explained

reasons, this interference was willful and done in bad faith.

        62.     Defendant BIW discriminated against Plaintiff Wallace because he

exercised his right to medical leave in violation of 26 M.R.S.A. § 847(2). For the

previously explained reasons, this retaliatory conduct was willful and done in bad faith.

        63.     There are no legitimate reasons for Plaintiff Wallace’s termination by

Defendant BIW.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that this Court enter an Order providing as follows:


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       A. On Count I, order Defendant BIW to remove all references in his personnel file to

discipline related to absences that were due to his serious medical condition, and to order

Defendant BIW to make Plaintiff whole for lost wages and benefits and to pay liquidated

damages in an amount equal to the sum of lost wages and benefits;

       B. On Count II, order Defendant BIW to remove all references in his personnel file

to discipline related to absences that were due to his serious medical condition, and order

BIW to make Plaintiff whole for lost wages and benefits and to pay liquidated damages in

an amount equal to $100 per day that the violation has continued;

       C. On both Counts, order Defendant BIW to pay prejudgment and post-judgment

interest, costs, and reasonable attorneys' fees;

       D. Grant such additional relief as this Court deems appropriate.

                                                   Respectfully submitted,



 Dated: October 8, 2019                            /s/ Samuel S. Riotte ______________________
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                                                   Counsel to Plaintiff




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